Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 1 of 84
                              PageID: 195353




               EXHIBIT 10
Case 3:16-md-02738-MAS-RLS            Document 33000-13   Filed 07/23/24   Page 2 of 84
                                       PageID: 195354




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                      Civil Action No. 3:16-md-2738- MAS-RLS
 TALCUM POWDER PRODUCT
 MARKETING, SALES                             MDL No. 2738
 PRACTICES AND PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases




                                 EXPERT REPORT OF

                             GEORGE E. NEWMAN, Ph.D.




Dated:       November 15, 2023
                                                      George E. Newman, Ph.D.
Case 3:16-md-02738-MAS-RLS         Document 33000-13     Filed 07/23/24   Page 3 of 84
                                    PageID: 195355




                                TABLE OF CONTENTS


   A.    Qualifications                                           3
   B.    Methodology                                              4
   C.    Summary of Opinions                                      5
   D.    Discussion                                               7
   E.    Conclusion                                               24

   Appendix 1. Abbreviated Timeline of JBP Marketing,             26
   Health Concerns Regarding Talc, and Johnson &
   Johnson Internal Communications

   Appendix 2: Selected Examples of JBP Advertisements            31




                                            2
Case 3:16-md-02738-MAS-RLS              Document 33000-13          Filed 07/23/24     Page 4 of 84
                                         PageID: 195356



A.        Qualifications

     1.     I am an Associate Professor of Organizational Behavior, Human Resource
            Management and Marketing at the Rotman School of Management (University of
            Toronto) in Toronto, Ontario. Prior to that I was an Associate Professor of
            Management and Marketing at the Yale School of Management in New Haven, CT for
            11 years, where I also held joint affiliations with the departments of Psychology and
            Cognitive Science at Yale University and was a faculty affiliate for the Yale Center for
            Customer Insights.

     2.     I received a B.A. from Northwestern University in 2002, a M.S. in Psychology from
            Yale University in 2005, a M. Phil. in Psychology from Yale University in 2006, and a
            Ph.D. in Cognitive Psychology from Yale University in 2008. I completed a 3-year
            post-doctoral training in Marketing at the Yale School of Management (2008-2011)
            and was then hired as tenure-track faculty at the Yale School of Management in 2011.

     3.     I have published over 60 peer-reviewed articles and 10 book chapters. These
            publications are relevant to the topics of marketing, consumer behavior, and branding
            and reflect both analytical and empirical research.

     4.     In addition to my teaching and research obligations at the University of Toronto and
            Yale University, I have served as a Visiting Professor of Marketing at New York
            University, the University of Hawaii (Manoa), and Seoul National University (the top-
            ranked university in South Korea). I have taught classes in marketing, consumer
            behavior, and marketing management at the undergraduate and graduate (MBA and
            PhD) levels. I have also taught several seminars on the topics of marketing and
            management to executives in senior leadership positions in industry and the U.S.
            federal government.

     5.     I have served in advisory roles for academic and professional organizations. Examples
            of present or recent leadership roles include the following: Editorial Board, Journal of
            Consumer Psychology; Editorial Board, Journal of Sustainable Marketing.

     6.     Among other professional achievements, I am a recipient of the Academy of
            Management, Best Paper Award (2020), the Society for Philosophy and Psychology,
            Best Paper Award (2019) and I was a keynote speaker at the Association of National
            Advertisers Annual Conference in 2017. I regularly serve as an invited speaker and
            moderator at top universities, including Harvard, Stanford, Columbia, MIT, the
            Wharton School, the University of Chicago, Northwestern University, Carnegie
            Mellon, London Business School, and more.

     7.     I have expertise in the areas of branding and consumer behavior. I have published
            extensively on the topics of marketing communications, brand heritage, brand
            authenticity, consumer perceptions of trust, and corporate social responsibility.




                                                  3
Case 3:16-md-02738-MAS-RLS                Document 33000-13          Filed 07/23/24       Page 5 of 84
                                           PageID: 195357



     8.      My compensation is $600/hour. I have not testified in any litigation in the last 4 years.
             My most recent Curriculum Vitae is attached as Exhibit A.

B.         Methodology

     9.      I was asked to review Johnson & Johnson’s practices regarding the promotion and sale
             (i.e., marketing) of Johnson’s talcum powder products, and to assess whether the
             company engaged in misleading and deceptive conduct that created confusion and
             misunderstanding among consumers by failing to communicate and appropriately
             inform consumers of health risks associated with Johnson's talcum powder products. I
             was not asked to give an opinion as to whether talcum powder products cause cancer.

     10.     The methodology I employed for purposes of this report used the same objectivity and
             systematic analysis I apply in my professional and academic career. I reviewed
             documents I requested of counsel relevant to the promotion and sale of Johnson’s
             Baby Powder (hereafter, JBP) and Shower to Shower (STS). Such documents included
             marketing materials and communications that were directed toward consumers (e.g.,
             print advertisements, messaging, promotions, etc.), corporate documents discussing
             these products (as well as JBP alternatives such as Johnson’s Baby Powder with
             Cornstarch), testimony from former employees of Johnson & Johnson, publicly
             available information (e.g., newspaper and magazine articles), and the peer-reviewed
             scientific literatures relevant to talcum powder use. In reviewing these documents, I
             sought to address six areas of inquiry:

              a. Relevance. Identifying documents relevant to the marketing and distribution of
                 JBP and STS, as well as how consumers perceive JBP and STS and talcum
                 powder products, more generally.
              b. Messaging. Understanding the timing and nature of how the company marketed
                 JBP and STS using both direct advertising channels as well as indirect channels
                 such as spokespeople.
              c. Strategy. Identifying the stated reasoning behind that messaging as indicated by
                 Johnson & Johnson corporate documents and testimony from former employees.
              d. Impact. Understanding the effects of that messaging on consumers’ perceptions of
                 JBP, STS, Johnson’s Baby, and Johnson & Johnson (parent brand) as indicated by
                 corporate documents, market research conducted by (or on behalf of) Johnson &
                 Johnson, and publicly available sources.
              e. Product Risks. Assessing the timing and nature of health concerns regarding
                 talcum powders by consulting publicly available information and scientific
                 literature.
              f. Response. Understanding the nature and timing of the company’s awareness of
                 and response to any health concerns regarding talcum powder products as
                 indicated by external messaging and the company’s internal communications.

     11.     In forming my opinion, I considered the totality of evidence. I considered this
             evidence in light of scientifically validated principles and theories from the literatures
             on psychology, consumer behavior, and behavioral economics (Matthew



                                                    4
Case 3:16-md-02738-MAS-RLS                Document 33000-13          Filed 07/23/24      Page 6 of 84
                                           PageID: 195358



             Rabin, Psychology and Economics, 11 J. Economic Literature 36 (1998)). Throughout
             this report I cite specific documents. I have also attached a list of materials I reviewed
             as background even if not specifically cited in this report. My opinions were
             formulated based on this research and my professional knowledge and expertise. I
             reserve the opportunity to revise or amend these opinions based on additional
             information obtained throughout the discovery process. I also reserve the right to
             review and comment on the testimony of defense experts.

C.         Summary of Opinion

     12.     For over a century, Johnson & Johnson promised to prioritize the health and well-
             being of their customers above all else. As stated on the company’s website, “Our
             Credo challenges us to put the needs and well-being of the people we serve first.” This
             promise was reinforced repeatedly in marketing communications including product
             labeling, advertisements, public statements, and endorsements from medical
             professionals. Those communications sought to make the Johnson & Johnson brand
             name synonymous with trust. In the company’s own words, the Johnson & Johnson
             brand was “not merely a Trademark, but a Trustmark” [JNJ000364540, slide 2].

     13.     In addition to Johnson & Johnson’s “Trustmark” and the company’s Credo, the
             company also directed efforts toward developing (in their own words) “a deep,
             personal trust” with customers by associating talcum powder products with the
             mother-infant bond [JNJTALC000354984, slides 32;34]. In the company’s own words,
             the mother-infant bond created “emotional trust” in Johnson’s Baby Products and the
             Johnson & Johnson brand, creating “a “powerful corporate image,” which made
             consumers “forgive brand crisis” [JNJTALC000354984, slides 29; 32]. The
             association of the Johnson’s name with the mother infant bond was known within the
             company as “Johnson & Johnson's Golden Egg” and was referred to as “one of the
             Company's most precious assets” [JNJ000364540, slide 2].

     14.     Market research conducted by Johnson & Johnson indicates that indeed, trust in the
             brand was a primary reason why consumers purchased Johnson & Johnson products
             instead of products manufactured by the company’s competitors
             [JNJTALC000354984, slide 18]. Johnson’s brand was perceived as a “caregiver” and
             “innocent” [JNJ000550561-65]. Consumers expected that Johnson & Johnson
             products were “safe and won’t hurt me” [JNJTALC000354984, slide 25]. And, in the
             company’s own estimation, trust in the brand resulted in “real business gains for the
             company” [JNJTALC000354984, slide 29]. Thus, the promise to prioritize customers’
             safety and well-being was a successful source of competitive advantage for the
             company, which resulted in significant product sales and revenue.

     15.     Documents reviewed show that as early as the 1970s, Johnson & Johnson was aware
             of potential health hazards associated with talcum powder products. For example, a
             1974 Johnson & Johnson corporate document noted that, “During the past couple of
             years, our need for a non-talc dusting powder has increased as a direct result of the
             talc/asbestos controversy” [JNJ000089115]. Earlier comments made within the



                                                    5
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24     Page 7 of 84
                                     PageID: 195359



        company directly linked consumer perceptions of JBP to the company’s financial
        interests. A 1966 internal memo circulated by Wallace Steinberg, the Director of
        Development Johnson & Johnson’s Health Care Division, stated, “we have a large
        investment in a talc mine. I am concerned over the conclusions drawn in the article.”
        [The article, published in the American Journal of Diseases of Children stated that “at
        least three deaths and an unknown morbidity have resulted from this silicate powder”
        and argued that “the traditional association of talcum powder and babies be
        abandoned. It (talcum powder) has no medicinal value” [JNJ000235850].

  16.   Over the subsequent five decades, serious potential health hazards associated with
        talc-based products, including the association between talcum powder use and cancer,
        were raised in dozens of peer-reviewed public health studies, meta-analyses, and
        expressions of concern from public interest groups. A 1986 Johnson & Johnson
        corporate document entitled, “Powders Forecast,” noted that “Retrospective studies
        have implicated talc use in the vaginal area with incidence of ovarian cancer.” “While
        sales of powders for use on baby continue, it is inevitable that a ‘last straw’ safety
        concern will lead to the abandonment of powder use, unless health benefits outweigh
        the risks” [JNJ000000535]. Internal documents show that within Johnson & Johnson
        there were guidelines and talking points which advised spokespeople about how to
        respond to these negative health concerns regarding talcum powder products,
        indicating that the company was aware of mounting health concerns [JNJ000035173].

  17.   In the 1970s and early 1980s Johnson & Johnson developed a non-talc-based cosmetic
        powder made from cornstarch. A 1971 internal document indicates that the cornstarch
        product was intended “as a replacement (to talcum powder) in event of a crisis or as an
        extension product.” [JNJ000351364]. And, a 1977 internal document indicated, “In
        view of possible government legislation banning the cosmetic use of talcum powder,
        the Brand (Johnson’s Baby) is test marketing Johnson’s Baby Powder with Corn
        Starch as a possible product replacement formula” [JNJ000245678]. Consumer
        research conducted by Johnson & Johnson confirmed that the cornstarch alternative
        was a feasible and commercially viable alternative to the traditional talc-based powder.
        Two U.S. patents were obtained (in 1953 and 1984) which afforded Johnson &
        Johnson the ability to manufacture and sell a cornstarch-based cosmetic powder.

  18.   However, despite the decades of public health concerns regarding talcum powder and
        the existence of a feasible and market-tested alternative made from cornstarch,
        Johnson & Johnson did not discontinue the sale of talc-based cosmetic powders in the
        U.S. and Canada until 2020, and globally until 2023. Notably, the company continued
        to market and sell talc-based powders as “safe” and “natural” even after the FDA
        recommended that talc be discontinued in surgical gloves and condoms in 1990 and
        1996, and after Health Canada warned consumers of the association between talcum
        powder use and ovarian cancer, concluding that “available data are indicative of a
        causal effect.” (p.iii; Health Canada Final Screening Assessment).

  19.   In light of Johnson & Johnson’s marketing communications—and specifically, their
        “Trustmark” and the promise to prioritize customers’ safety and well-being above all



                                              6
Case 3:16-md-02738-MAS-RLS               Document 33000-13          Filed 07/23/24      Page 8 of 84
                                          PageID: 195360



             else—the company should have communicated what it knew about the potential risks
             associated with talcum powder with the public. Instead, the company denied any
             potential health hazards associated with talcum powder and sought to compensate for
             declining sales of talcum powder products by targeting specific demographics of
             consumers including obese women, African American women, Hispanic women, and
             teens. In one meeting among Johnson & Johnson employees, a slide presentation noted
             “the need for a directed marketing effort against Hispanics” and that, in targeting such
             consumers, “I think we’ve found where the fish are” [JNJ000119537].

     20.     Johnson & Johnson built a profitable, global brand by promising to put the health and
             safety of their customers first. The company reinforced that trust by aligning its talcum
             powder products with trusted figures including doctors and mothers. However, when
             concerns about the safety of talcum powder arose, the company did not take actions to
             fairly inform consumers of these health and wellbeing issues. Instead, the company
             continued to actively market and sell talcum powder products for decades. Such
             actions needlessly exposed millions of women to a potential hazard and violated the
             central promise of trust and safety upon which their relationship with customers was
             built.

D.         Discussion

For over a century, Johnson & Johnson marketed their talcum powder products as “safe,”
“natural” and “pure.” Through direct marketing strategies (e.g., print, radio, and
television advertising, as well as promotions) and indirect marketing strategies, such as
endorsements from doctors and medical professionals, Johnson & Johnson sought to build
trust among consumers by associating talcum powder use with the deep, emotional bond
between mother and child (see Appendix 2 for examples of advertisements).

     21.     In 1894, Johnson & Johnson’s began producing and selling Johnson’s Baby Powder
             (JBP), which was the company’s first direct-to-consumer product
             [JNJ000881819_0003].

     22.     Messaging for JBP consistently used language that portrayed talcum powder as “safe,”
             “natural” and “pure.” For example:

              a. “Johnson's is soft and pure and doesn’t have anything in it that could harm my (a
                 baby’s) delicate skin.” [JNJ000313878]
              b. “the purest, most absorbent, most trusted baby powder in the world.”
                 [JNJ000313867]
              c. “Your touch tells him everything. That's why we make our powder so pure and
                 soft and soothing. It feels like love.” [JNJ000058794]
              d. A 1929 advertisement in Good Housekeeping Magazine indicated, “Johnson’s
                 Baby Powder is made up of soft, tiny flakes—but the cheaper talc used for some
                 baby powders, contains sharp, needle-like particles.” [Appendix A2-E] This
                 advertisement is significant as it indicates that by as early as 1929, the company




                                                   7
Case 3:16-md-02738-MAS-RLS           Document 33000-13          Filed 07/23/24      Page 9 of 84
                                      PageID: 195361



             was aware of the potential for cosmetic talc products to contain “needle-like
             particles.”
          e. An informational pamphlet from 1976 reported that, “Johnson & Johnson is one
             of the few companies in the United States that owns its own talc mine. We
             therefore have complete control over the quality of our talc.” “It is checked
             regularly for purity with sophisticated scientific equipment.” “And the product is
             also monitored regularly to continuously assure us of its purity.”
             [JNJ000881819_0003]. Other questions responded to in this pamphlet included,
             “Is there asbestos in Johnson’s Baby Powder?”

  23.    Advertising for JBP sought to enhance consumers’ trust in the safety of talcum powder
         products by creating an association between talcum powder use and the emotional
         bond between mother and child. This association was reinforced repeatedly in
         marketing communications regarding talcum powder products. Frequently used
         language in such communications included the following:

          a. “In your hands, Johnson's Baby Powder feels like love. And that can be as
             important to your baby as the food you feed him.” [JNJ000313874]
          b. “Touching a baby with the soft, pure talc and gentle scent of Johnson's does a lot
             to spread a little love around.” [JNJ000058785].
          c. “Just the gentle touch of pure soft Johnson's Baby Powder tells him he's being
             cared for in more ways than one.” [JNJ000058783]
          d. “Johnson's is the most loving touch next to yours.” [JNJ000058780]
          e. “You can make your touch even more loving when you soften it with Johnson's
             baby powder.” “If there’s a better way to tell your baby you love him than with
             Johnson’s Baby Powder, we can’t think of it.” This advertisement featured an
             endorsement from Nurse Practitioner and Professor of Nursing, Amy York
             [JNJ000058791].

  24.    Within Johnson & Johnson, it was known that such marketing messages enhanced
         consumers’ trust in the safety of talcum products as well as their trust in the Johnson’s
         brand. In meetings among employees of Johnson & Johnson, it was stated that
         “JOHNSON’S is more than a Trademark, it’s a Trustmark.” “The association of the
         Johnson’s name with both the mother infant bond and mother's touch as she uses the
         baby products is known as Johnson & Johnson's Golden Egg.” “This association is one
         of the Company's most precious assets.” [JNJ000364540, Slide 2].

In the 1960s Johnson & Johnson began marketing talcum powder specifically for adult use.
This was achieved by creating perceptions of need among adult and teenage women that
talcum powder use on the body and genitals should be part of a woman’s daily hygiene
ritual. Marketing communications targeting adult and teen women encouraged the
continued use of talcum powder from infancy into adulthood and capitalized on the same
imagery and language that was used to build trust among mothers who used talcum
powder on their infants.




                                               8
Case 3:16-md-02738-MAS-RLS         Document 33000-13         Filed 07/23/24        Page 10 of 84
                                    PageID: 195362



  25.   By at least 1965, executives at Johnson & Johnson were aware that many adult women
        used Johnson’s Baby Powder. As one executive at the time wrote, “the use of our baby
        powder for adult use has been considered by us on many occasions, and we know that
        many adults use Johnson’s Baby Powder in the manner you mention.”
        [JNJ000874481].

  26.   In the late 1960s to early 1970s, a more concerted effort was made to market directly
        to adult women. For example, in communications directed to retailers, Johnson &
        Johnson noted that from 1968 to 1974 the Johnson’s share of the baby powder market
        grew by 10%, while during the same time frame the adult market grew by 36%.
        [JNJ000877320_0004-5]. The company stated that, “Johnson’s spends more on
        advertising dollars against women 18-49 than ALL COMPETITORS COMBINED.”
        [JNJ000877320_0006-7]. “The combination of Johnson’s Baby Powder adult
        advertising campaign and your retail support can only increase your sales and profits.”
        [JNJ000877320_0009].

  27.   In 1967, Johnson & Johnson launched “Shower to Shower,” a talcum powder product
        directed specifically for adult use [JNJTALC000020925, JNJ000351582].

  28.   In 1973, it was noted by employees at Johnson & Johnson that,

         a. “75% of teen girls and 80% of women use a talc” [JNJ000221062]
         b. “Johnson’s share of the talcum powder market for adult use was 58%”
            [JNJ000877320_0005]
         c. “Johnson’s Baby Powder spends 80% of its advertising dollars against the adult
            market” [JNJ000873589_0013]

  29.   Advertisements directed at teen and adult women sought to draw a direct link between
        use in infancy and use in adulthood. For example, “Now that you’re older, haven’t you
        got your own reasons for Johnson’s baby Powder” [JNJ000873589_0022]. An
        advertisement series for Shower to Shower which ran for many years in the 1970s and
        1980s, "A Sprinkle a Day Keeps the Odor Away,” encouraged daily use of the product.

  30.   In 1974, marketing executives at Johnson & Johnson noted that, “Since 1969,
        advertising dollars have increased 155%. 95% of the total category advertising
        expenditures come from the JOHNSON'S Baby Powder brand.”
        [JNJTALC000024325]. In other words, for every $100 that was spent on advertising
        baby powder, $95 was spent by Johnson & Johnson.

  31.   In 1978, sales data provided to retailers indicated that [JNJ000873754]:

         a. “Johnson’s Baby Powder spends $5 million in advertising support. That’s over
            250% more than any other talcum powder. 63% of all talcum powder advertising
            is for Johnson’s Baby Powder. 80% of our advertising dollars are against the
            primary buyer: adult females.” [JNJ000873754_0009].




                                              9
Case 3:16-md-02738-MAS-RLS          Document 33000-13         Filed 07/23/24     Page 11 of 84
                                     PageID: 195363



          b. Johnson’s Baby Powder was “#1 selling baby and adult powder, outselling all
             other talcum powders combined” “Johnson’s Baby Powder advertising will
             deliver in excess of 834,700,000 impressions to the adult female annually. This
             represents two-thirds of all talcum powder advertising combined.”
             [JNJ000873754_0013].

Market research conducted by Johnson & Johnson identified a group of so-called, “super-
heavy users.” These were adults who used Johnson’s talcum powder products with high
levels of regularity and volume. Although this segment represented a small fraction of the
total number of adult talcum product customers, they accounted for significant percentage
of the total volume of use.

  32.    Market research conducted by Johnson & Johnson indicated that “6% of Shower to
         Shower customers, account for 37% of the brand’s volume” [JNJ000228153].

  33.    “As an additional follow up to the InfoScan panel powder category presentation are
         charts showing volume and buyer distributions for Johnson’s Baby Powder and
         Shower to Shower. For both brands there is a super-heavy group of buyers (around
         5%) who account for at least a quarter of the volume.” [JNJ000228152].

Marketing efforts aimed at building trust with consumers were effective. Consumers
perceived Johnson & Johnson’s talcum powder products to be safe, and they reported high
levels of trust in the Johnson & Johnson brand. Market research conducted by the
company indicated that Johnson’s talcum powder products were consistently ranked the
highest among cosmetic body powders both in terms of consumer perceptions and total
sales.

  34.    Market research conducted by Johnson & Johnson indicated that 72% of consumers
         trusted Johnson’s talcum powder products and 75% saw them as safe, whereas only
         47% of consumers trust Walmart talcum powder products and 48% see them as safe
         [JNJTALC000354984, slide 18]

  35.    Customers believed that the products are safe "won't hurt me" and have a "familiar
         intimacy with the company" [JNJTALC000354984, slide 25]. And that, “Johnson &
         Johnson’s unique trust results in real business gains for the company.”
         [JNJTALC000354984, Slide 29].

  36.    Johnson’s brand was perceived as a “caregiver” and “innocent.” [JNJ000550541-48].

Favorable consumer perceptions of Johnson’s talcum powder products created a brand
“halo” that benefited sales of other Johnson & Johnson products. Johnson’s Baby Powder
was regarded as the company’s flagship product and provided the basis for launching
additional products within the Johnson’s Baby and adult use product lines. Johnson’s Baby
Powder was also the launchpad for expanding the Johnson & Johnson’s brand into
overseas markets. As a result, maintaining favorable consumer perceptions of JBP was
integral to the company’s long-term marketing strategy.



                                             10
Case 3:16-md-02738-MAS-RLS         Document 33000-13        Filed 07/23/24     Page 12 of 84
                                    PageID: 195364




  37.   Within Johnson & Johnson, JBP was credited with creating the baby category
        [JNJ000364540, slide 4].

  38.   JBP and the Johnson’s Baby brand were also credited with facilitating the expansion of
        the brand into foreign markets. As one marketing presentation noted, “our global
        expansion as a company was rooted in baby,” which allowed Johnson & Johnson to
        become a “global mega-brand with worldwide credibility & reach.” [JNJ000364540,
        slide 3, slide 9]

  39.   Within Johnson & Johnson, it was believed that perceptions of the company were
        “deeply linked to baby products.” [JNJTALC000354984, Slide 15].

  40.   Analysis by Johnson & Johnson also indicated that doctors and medical professionals
        “view J&J as ‘The baby company’ [JNJ000674963, slide 5].

  41.   Internally, Johnson baby products, including its flagship Baby Powder, were referred
        to as the “corporation’s #1 asset” [JNJTALC000354984, Slide 3], “the face of Johnson
        & Johnson” and a “Golden egg” that “drives positive imagery and emotional
        attachment to the company” [JNJ000674963, slide 3].

  42.   Maintaining favorable consumer perceptions of baby powder products was a key
        objective of the company’s long-term marketing strategy. As one marketing executive
        directed, “We MUST protect and enhance the Baby Equity. Baby is the corporation #1
        asset and the mother-infant bond is at its core.” [JNJTALC000354984, slide 71]

  43.   In internal communications directed toward the marketing division, an analogy to a
        “piggy bank” was made where “brand communication with the mother-infant bond”
        was the investment and “deep personal trust” was the return on investment. Marketing
        executives believed that the “equity” derived from those marketing communications
        would “fade unless we nourish and feed it.” [JNJTALC00035498, Slides 51 & 52].

  44.   Summary of Marketing Strategy. JNJTALC000354984 is a key document as it
        outlines Johnson & Johnson’s marketing strategy with respect to talcum powder
        products and the Johnson & Johnson brand. The core of the strategy was that the
        association of JBP with the mother infant bond created a brand halo of trust that
        extended to Johnson’s Baby and the Johnson & Johnson parent brand (see Kevin
        Keller, Conceptualizing, Measuring, and Managing Customer-Based Brand Equity, 1
        J. Marketing 57 (1993); Lance Leuthesser, et al., Brand Equity: The Halo Effect
        Measure, 29 European J. Marketing 57 (1995); and, Elena Delgado-Ballester & Jose
        Luis Munuera-Aleman, Does Brand Trust Matter to Brand Equity?, 14 J. Product &
        Brand Manag. 187 (2005) for examples in the marketing literature).

         a. “Johnson & Johnson (parent brand) is more than that (a logo, or brand, or parent
            company, or manufacturer). It is a complex sum of meanings, associations, values
            and feelings” [slide 12].



                                            11
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24      Page 13 of 84
                                     PageID: 195365



          b. “The Johnson & Johnson (parent brand) is deeply linked to baby products” [slide
             15-17].
          c. The Mother-baby bond (associated with Johnson’s baby products) is the core of
             Johnson’s baby products and, in turn, the Johnson & Johnson’s brand [slides 34-
             38] creates a feeling of “deep, personal trust” [slides 24, 27, 28].
          d. Johnson’s customers define trust as “(the product) is safe and won’t hurt me” and
             having “personal feeling of intimacy with the company” [slide 25] and trust is
             especially important for healthcare companies where customers expect that the
             “product will work without any unexpected adverse physical/emotional effects”
             [slide 20].
          e. Market research indicates that “deep, personal trust” is a key reason why
             consumers purchase Johnson & Johnson products instead of products made by
             competitor brands [slides 18].
          f. Therefore, the emotional trust that consumers feel toward Johnson & Johnson—
             which stems from perceptions of JBP and the association of JBP with the mother-
             infant bond—is a significant source of the company’s equity (i.e., value), which
             includes “forgiving brand crisis,” meaning that because of the trust, consumers
             may be more likely to overlook a crisis associated with one of the company’s
             products [slide 40].

By as early as 1966, Johnson & Johnson was aware of health risks associated with the use
of talcum powder products. In response to these safety concerns, Johnson & Johnson began
developing a replacement powder that was made of cornstarch instead of talc.

  45.    In an internal memo distributed at Johnson & Johnson in 1966, W.H. Steinberg, the
         Director of Development Johnson & Johnson’s Health Care Division referenced a
         recent article that appeared in American Journal of Diseases of Children. The article
         stated that, “In conclusion, it is strongly urged that talcum powder be removed from
         the environment of children and the traditional association of talcum powder and
         babies be abandoned. It has no medicinal value; wherever placed it serves as a foreign
         body; and at least three deaths and an unknown morbidity have resulted from this
         silicate powder.” In response, Steinberg wrote “Baby Powder represents the
         cornerstone of our baby products franchise. In addition, we have a large investment in
         a talc mine. I am concerned over the conclusions drawn in the article… Would it be
         possible for use to initiate basic work to explore this phenomenon either to obtain data
         to refute this problem or to develop mechanisms to reduce the hazard.”
         [JNJ000235850].

  46.    Johnson & Johnson obtained a patent for a product made from cornstarch in 1953
         [U.S. Patent No. 2,626,257, January 20, 1953]. The company began developing a
         commercial powder product made from cornstarch in 1964. Johnson’s Cornstarch
         Baby Powder development was conducted in two periods with different objectives.
         The first development period took place between 1964 and 1968. The primary aim of
         this powder (Formula 117) was to prevent diaper rash and included 0.5%
         Hexachrophene. Clinical trials did not demonstrate a significant difference between
         the cornstarch product and soap and water. [JNJ000351363]



                                              12
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24      Page 14 of 84
                                     PageID: 195366




  47.    In the second phase, which began in July 1971, the effort was directed at duplicating
         Johnson’s Baby Powder (talc) with a biodegradable powder (Formula 31) “as a
         replacement (to talcum powder) in event of a crisis or as an extension product.”
         [JNJ000351364]. Cornstarch was used because, according to Johnson & Johnson’s
         research, cornstarch powder is “more absorbent, whiter, more flowable, apparently
         able to retain perfume better than the talc product” [JNJ000351364].

Market research conducted by Johnson & Johnson throughout the 1970s and early 1980s,
indicated that the cornstarch product was a technologically feasible and commercially
viable replacement for talcum powder.

  48.    In 1971, the company released an internal memo which discussed how Johnson’s Baby
         Powder (with talc) could be replaced with a cornstarch alternative. As was noted in
         internal communications, “Depending on the amount of publicity it received, we
         would prepare copy which would announce for both infant and adult usage that
         Johnson’s Baby Powder has a new non-talc formula but still has the same clean, fresh
         scent. This would be used for the first few months in order to emphasize the non-talc
         formula. This would not be necessary if the removal of talc products was low key.”
         [JNJ000342519].

  49.    A product test was conducted in 1972 comparing Corn Starch Baby Powder #31 to
         Johnson’s Baby Powder #34 (Talc) and Diaprene Corn Starch Baby powder. Johnson’s
         Corn Starch labeled as such was preferred over Johnson’s Baby Powder by 62% to
         30%. Johnson’s Corn Starch was preferred over current leading corn starch product
         (Diaparene) by 51% to 32% [JNJ000351362].

  50.    In 1973, D.R. Pettersen from Johnson & Johnson sent a memo to D.D. Johnston,
         entitled “Windsor Minerals and Talc.” Writing for himself and William Ashton (J&J
         R&D Director) and Roger Miller (Vice President of Operations, Windor Mines), he
         wrote that “It is our joint conclusion that we should not rely on the ‘Clean Mine’
         approach as a protective device for Baby Powder in the current Asbestos or Asbestos-
         form controversy. We believe this mine to be very clean; however, we are also
         confident that fiber forming or fiber type minerals could be found.” “Baby Powder
         contains talc fragments classifiable as fiber. Occasionally sub-trace quantities of
         tremolite or actinolite are identifiable (optical Microscope) and these might be
         classified as asbestos fibers” [JNJ000251888 at 89]. “Corn Starch is obviously another
         answer. The product by its very nature does not contain fibers. Furthermore, it is
         assimilated by the body” [JNJ000251888 at 90].

  51.    In 1973, Johnson & Johnson conducted an animal test and found that cornstarch is
         more readily degradable by the body than talc [JNJ000318505].

  52.    In 1974, it was noted by executives at Johnson & Johnson that, “During the past
         couple of years, our need for a non-talc dusting powder has increased as a direct result
         of the talc/asbestos controversy.” [JNJNL61_000001955]. “The chemical industry is



                                              13
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24     Page 15 of 84
                                     PageID: 195367



        now aware of the present talc climate and a focus on potentially novel materials can be
        expected.” [JNJNL61_000001966].

  53.   A 1975 Johnson & Johnson marked “confidential” document titled, “Review on the
        Present Status of Talc Safety Substantiation Activities and Update of Contingency
        Plans” noted:

         a. “Newer questions raised by proponents of talc safety now revolve around general
            mineral inhalation and presence of possible cancer producing trace impurities.”
            [JNJ000026989].
         b. “When the Food and Drug Administration brought the talc issue to a head
            approximately 2 years ago, their consultant, Dr. Lewin, strongly asserted that he
            had found asbestos in Johnson & Johnson powder. Johnson & Johnson quickly
            reacted with consultants of their own, and after several meetings in Washington
            Dr. Lewin’s original report was later amended and he retracted his statements on
            the occurrence of asbestos in Johnson & Johnson powders” [JNJ000026997].
         c. “Talc Strategy. Cornstarch appears to be the number one answer to any alternates
            to talcum powder. We presently have a cornstarch formula packaged and it is
            planned that a test market will ensue on the formula during the first quarter of
            1975” [JNJ000027006].

  54.   In 1977, a test market evaluation of the cornstarch product was conducted in Fort
        Wayne, Indiana. This study was motivated specifically by safety concerns regarding
        talc. The section titled “Background,” read as follows: “In view of possible
        government legislation banning the cosmetic use of talcum powder, the Brand is test
        marketing Johnson’s Baby Powder with Corn Starch as a possible product replacement
        formula” [JNJ000245678]. The results of the test market indicated the following:

         a. “JBP with Corn Starch has been accepted by the consumer as formula
            replacement. This is illustrated by a directional increase in the Brand’s usage
            share and strong repurchase intent among Johnson’s Baby Powder with Corn
            Starch users.”
         b. “The rating of Johnson’s Baby Powder with Corn Starch was either parity or
            higher than the talc formula on all qualities which further supports the viability of
            corn starch as a product replacement.”
         c. “The majority of Johnson’s Baby Powder with Corn Starch users intend to make
            their next purchase a corn starch rather than talc based product (83% of
            consumers post-trial).”

  55.   In 1978, a focus group analysis was conducted in New Orleans. This focus group study
        compared consumer perceptions of Johnson’s Baby Powder (JBP), Johnson’s Baby
        Powder with cornstarch (JBPc), and Shower to Shower (Johnson & Johnson’s adult-
        use talcum powder product). Results indicated that consumers preferred JBPc to JBP
        because the “fragrance was more adult oriented,” and because it has “finer texture and
        less prone to caking”. On the basis of this study, “In general, it was felt that the




                                              14
Case 3:16-md-02738-MAS-RLS           Document 33000-13           Filed 07/23/24      Page 16 of 84
                                      PageID: 195368



         product (JBPc) would be more effective for women and that it might satisfy women’s
         need for a vaginal powder” [JNJ000245744].

  56.    In 1981, a report in the peer-reviewed journal, Pediatrics, concluded that “there
         appears to be no medical indication for the use of these (baby) powders.” And that, “to
         merely have a negative attitude toward these products is insufficient.”
         [JNJ000277205].

In 1982, Dr. Daniel Cramer and colleagues published an epidemiological study indicating
an association between talcum powder use and increased prevalence of ovarian cancer.
Shortly thereafter, several major media outlets discussed Dr. Cramer’s findings and raised
concerns abouts the health risks associated with talcum powder use.

  57.    The Cramer et al. (1982) study is significant because it raised the possibility that the
         link between talc and cancer could be caused by (a) fibers in talc itself, and (b) those
         fibers could implant in the body via a process of translocation, moving from the
         perineal area to the ovaries.

          a. “If talc is involved in the etiology of ovarian cancer, it is not clear whether this
             derives from the asbestos content of talc or from the uniqueness of the ovary
             which might make it susceptible to carcinogenesis from both talc and other
             particulates.” (p. 376)
          b. “If present, talc or other particulates might be incorporated into these inclusion
             cysts. Apparently implantation of foreign bodies into the lumens of epithelial
             lined organs provides a favorable environment for carcinogenesis” (p. 376)
          c. “Epidemiologic studies should focus on opportunities for excessive vaginal
             contamination with talc such as when it is repeatedly used in perineal dusting
             powders or sprays and in or on tampons, sanitary napkins, or other products
             intended for intravaginal use.” (p. 376)

In 1984, Johnson & Johnson obtained a second patent for a cornstarch powder and
conducted market research to assess the “feasibility of substituting cornstarch for talc
under the Johnson’s Baby Powder name, without announcing the switch.”

  58.    In 1984, Johnson & Johnson conducted a market opportunity analysis for JBPc and
         concluded that, “Cornstarch segment is the growing segment of the baby powder
         category” and that, “more than half of households that use baby powder of some
         kind.” [JNJ000290508].

  59.    On November 27 of 1984, Johnson & Johnson obtained a second patent for their
         unique formulation of Johnson’s Baby Powder Corn starch [JNJ000060059].

  60.    In 1984, Johnson & Johnson contracted with Marketing Information Systems Int’l Inc.
         to conduct a market research study. The stated purpose of the study was “Johnson’s
         Baby Powder (talc) continues to suffer from health and safety concerns surrounding
         talcum powders. While there is no conclusive scientific evidence that shows that talc is



                                                15
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24      Page 17 of 84
                                     PageID: 195369



        unsafe, it was decided to focus all marketing efforts on Johnson’s Baby Cornstarch
        powder and to pursue the conversion of current talc users to cornstarch powder. To
        assess the potential of switching talc users to cornstarch. It was decided to conduct this
        study.” Objectives of Researcher were “To evaluate the feasibility of substituting
        cornstarch for talc under the Johnson’s Baby Powder name, without announcing the
        switch. The following areas need to be investigated: (a) Do current talc users perceive
        change in product/performance? (b) Is cornstarch a suitable replacement for talc?”
        [JNJ000404860].

  61.   In 1984, the company created materials to distributed to retailers which announced
        JBP with Cornstarch as an improvement over the talc product [JNJ000332195]

         a. “A change for the better” [JNJ000332195].
         b. “The powder market is changing. The cornstarch segment is the growth segment.”
            [JNJ000332196].
         c. “Now we’re changing for the better…” [JNJ000332198].

  62.   In a 1985 document titled, “Cornstarch Technology Forecast,” analysts at Johnson &
        Johnson indicated that, “Cornstarch based cosmetic powders will most likely be the
        powders of choice in the future. Favorable safety, physiological and functional
        properties of cornstarch appear to support this premise” [JNJ000255601].

  63.   On May 20, 1985, a meeting was held at Johnson & Johnson referred to as “Powders
        Technical review.” Notes from that meeting reported that among the issues discussed
        were “Safety Issues: Inhalation, Translocation, Packaging.” The word
        “Translocation,” is notable as it refers to safety concerns regarding the translocation of
        talcum powder from the vagina to the ovaries, indicating that Johnson & Johnson was
        aware of potential links between talcum powder use and ovarian cancer
        [JNJ000290680].

  64.   In December 1985, Johnson & Johnson drafted a comprehensive “Q&A document” to
        respond to hypothetical questions from the media regarding how the introduction of a
        cornstarch powder may impact consumer perceptions of the brand [JNJ000035173].
        The “Q&A” document which was marked at “Confidential” was directed as follows:
        “The attached Question and Answer document has been developed for limited internal
        distribution in response to the need for clarification of issues relating to baby powder
        and talc. Specifically, its sole purpose at this time is to provide designated company
        spokespersons with answers to questions which could be raised by the press. It is not
        meant for distribution to anyone other than the individuals who will act as company
        spokespersons as necessary.” [JNJ000035173].

  65.   This document [JNJ000035173] confirms that Johnson & Johnson was aware of
        reports on the potential links between talcum powder use and ovarian cancer, that
        Johnson & Johnson was aware the introduction of a cornstarch alternative might be
        perceived as an admission that there were safety concerns regarding talc, and that
        Johnson & Johnson was aware the introduction of a cornstarch alternative might affect



                                              16
Case 3:16-md-02738-MAS-RLS          Document 33000-13          Filed 07/23/24     Page 18 of 84
                                     PageID: 195370



         brand perceptions, given that talcum powder was the brand’s “flagship” product.
         Hypothetical questions that Johnson & Johnson anticipated and prepared their
         spokespeople to address included the following:

          a. Question: “Dr. Daniel Cramer in the journal Cancer has linked the use of talcum
             powder to ovarian cancer. Could you comment?”
          b. Question: “If your own studies should link talc to ovarian cancer, will you pull
             Johnson’s Baby Powder off the market?”
          c. Question: “In 1976, scientists found asbestos in 10 of 19 baby powders tested.
             How is that possible?”
          d. Question: “What about the study by Egli & Newton that proved translocation of
             talc to the ovaries?”
          e. Question: “Why did you introduce the cornstarch powder?” “Isn’t it because it is
             safer?”
          f. Question: “Surgeons who used to dust their gloves with talc now use cornstarch.
             Do they know something we don’t?”
          g. Question: “Are you putting cornstarch in Johnson’s Baby Powder because you
             think talc is not safe?”
          h. Question: “When are you going to discontinue using talc in Johnson’s Baby
             Powder?”

In 1986, Johnson & Johnson began distributing and selling Johnson’s Baby Powder with
Cornstarch nationwide. Importantly, however, a decision was made to offer the cornstarch
product alongside talcum powder, rather than replace the talc product with cornstarch.
Thus, there appeared to be a shift in the “replacement” strategy that was considered pre-
1986, and the dual-product strategy that was actually employed. Corporate documents
noted concerns that whereas Johnson’s was the clear “market leader” for talc products, the
company did not have the same business advantages with cornstarch (via the designation of
cornstarch as a commodity food stuff). Additionally, consumers strongly associated the
brand with the original (talc) formulation (e.g., “I pray they don’t change it or go out of
business.”)

  66.    A 1986 Johnson & Johnson corporate document [JNJ000000523] noted that
         “Retrospective studies have implicated talc use in the vaginal area with incidence of
         ovarian cancer.” However, this document also noted that Johnson & Johnson was the
         clear market leader for talcum products and had unique production capabilities and
         brand awareness which protected its talc business from competitors. Cornstarch by
         contrast, because of its designation as a “commodity food stuff,” did not offer the same
         business advantages [JNJ000000525].

          a. “nearly one hundred years of talc based powder experience has kept us the market
             leader”
          b. “vertical integration, through ownership of the Windsor mine in the U.S., and
             major purchase agreements with 11 other world sources, has enabled us to define
             cosmetic grade talc.”




                                              17
Case 3:16-md-02738-MAS-RLS             Document 33000-13           Filed 07/23/24        Page 19 of 84
                                        PageID: 195371



          c. “Johnson’s Baby Powder is the standard for consumer comparison in the U.S., it
             is preferred over all other cosmetic powders”
          d. “cornstarch used in cosmetic powders is a commodity food stuff in the U.S.
             Natural structural limitations and the desire to avoid chemical modification,
             preclude direct improvements in the current technology.”

  67.    A second issue related to the replacement of talc product was identified in market
         research. Research conducted on behalf of Johnson & Johnson indicated that
         consumers strongly identified with the original talc formula: “It’s comforting because
         it’s familiar; it’s always consistent trustworthy, I count on it. It’s timeless; It’s classic;
         it’s been around forever and works just the same/stood the test of time; They
         (customer) know who they are and kind of formed with this country; It’s most
         mothers’ choice because its trusted, gentle; You know about it, you’re secure about it,
         you don’t worry; I pray they don’t change it or go out of business.” [JNJ000550549].
         In other words, consumers associated JBP with the company’s long-standing history,
         and hence changing the original product may undermine the brand’s equity with
         consumers (Minju Han, George E. Newman, Rosanna K. Smith & Ravi Dhar, The
         Curse of the Original: How and When Heritage Branding Reduces Consumer
         Evaluation of Enhanced Products, 48 J. Consumer Research 709 (2021).

The marketing strategy differentiated the talc and cornstarch products through their
intended uses, such that the original (talc) product was marketed for “softness,” while the
cornstarch product was marketed for “absorbency.” The talc and cornstarch products were
priced identically and offered same profit margins to Johnson & Johnson.

  68.    “New Johnson’s baby Powder Pure Cornstarch. It has the same soft scent as original
         baby powder. Baby’s Drier. Because new pure cornstarch is more absorbent. Now
         there are two. New Pure Cornstarch and original Baby Powder” [JNJ000304963]

  69.    The costs to manufacture Johnson’s Baby Powder with Cornstarch and Johnson’s Baby
         Powder were nearly identical [JNJ000224869]. Johnson’s Baby Powder with
         Cornstarch and Johnson’s Baby Powder (talc) were priced identically
         [JNJ000224757]. Thus, the cornstarch alternative offered similar profit margins to the
         company.

  70.    Sales data from 1989 and 1990 indicated that JBP with cornstarch performed well,
         despite lower distribution than talcum powder. The sales report noted that,

          a. “Johnsons Baby Powder with Corn Starch (JBPCs) achieved an 11.9% share in
             March/April, its highest share ever.” [JNJ000224709].
          b. Other reports indicated, “This points to upside potential for cornstarch factory
             sales in late 1989 and 1990. The Brand remains cautious because retail coverage
             figures for cornstarch have inexplicably moved higher than talc, despite JBPcs’
             lower distribution.” [JNJ000224719].




                                                 18
Case 3:16-md-02738-MAS-RLS           Document 33000-13         Filed 07/23/24      Page 20 of 84
                                      PageID: 195372



  71.    By 1989, market research conducted by Johnson & Johnson indicated that medical
         professionals recommended cornstarch powder over talcum powder. Specifically, the
         company’s own research found that 22.6% of doctors recommended cornstarch, while
         only 10.3% of doctors recommended Talc. Moreover, 24.2% of doctors recommended
         against talc while only 12.1% recommended against cornstarch [JNJ000227119].

  72.    In 1989, Johnson & Johnson sold their interest in the Windsor and Western mines to
         Cyprus Mines and entered into sales agreement where Windsor would be the supplier
         of talc to Johnson & Johnson [JNJNL61_000118282]

Based on evidence of health risks associated with talcum powder, the FDA requested that
talc be removed from surgical gloves (in 1990) and condoms (in 1996) and replaced with
cornstarch where needed.

  73.    In 1990, the FDA asked manufacturers to discontinue the use of talc on surgical gloves
         and replace it with cornstarch. Studies confirmed that “talc molecules are not
         absorbed, whereas low cross-linked cornstarch is an absorbable substance; therefore,
         the latter is a safe material for use as surgical glove powder.” [JNJ000312113].

  74.    In 1996, the FDA requested U.S. manufacturers to cease using talc in manufacturing
         condoms and replace it with cornstarch. An FDA spokesperson at the time, Arthur
         Whitmore, was quoted as saying, “We’ll probably never know for sure that talc is
         unsafe, but why take the risk? Cornstarch does just fine and doesn’t pose risks. I think
         it’s prudent for manufacturers to switch” [LUZ011817].

On November 17, 1994, the Cancer Prevention Coalition (CPC), sent a citizens’ petition to
the FDA requesting that the FDA, “Immediately require cosmetic talcum powder products
to bear labels with a warning such as talcum powder causes cancer in laboratory animals.
Frequent talc application in the female genital area increases the risk of ovarian cancer,”
and grant the CPC a hearing with the FDA [1994 CPC Citizens Petition]. The petition
noted that,

          a.  “Minute particles, such as talc are able to translocate through the female
             reproductive tract and cause foreign body reactions in the ovary.”
          b. “Talc is a carcinogen, with or without the presence of asbestos-like fibers. In
             1993, the National Toxicology Program published a study on the toxicity of non-
             asbestiform talc and found clear evidence of carcinogenic activity.”
          c. “Recent cancer research in the United States has found conclusively that frequent
             talcum powder application in the genital area increases a woman’s risk of
             developing ovarian cancer.”

  75.    In 1997, Alfred Werner (a medical doctor and consultant of Johnson & Johnson) sent a
         letter to Michael Chudkowski (the manager of Preclinical Toxicology at Johnson &
         Johnson) critiquing the CFTA responses to the CPCs 1994 citizens’ petition and the
         company’s messaging about the safety of talc more broadly. Among other points, this
         letter notes that the claim that “industrial exposure to talc, both by skin contact and



                                               19
Case 3:16-md-02738-MAS-RLS           Document 33000-13           Filed 07/23/24      Page 21 of 84
                                      PageID: 195373



         inhalation… presents no significant risk” is “outright false.” Werner writes that “all
         that (one) would have to do to demolish the credibility of the talc industry is refer to
         the studies by Kleinfeld et al., Thomas, and Thomas and Stewart!” [JNJ000040596].

  76.    This letter also noted that CFTA response statement (dated November 17, 1994) is
         “just as bad.” “Anybody who denies (the statistically significant association between
         hygienic talc use and ovarian cancer) risks that the talc industry will be perceived by
         the public like it perceived the cigarette industry: denying the obvious in the face of all
         evidence to the contrary.” [JNJ000040597].

Throughout the 1990s and early 2000s, sales of Johnson & Johnson talcum powder
products declined. During this same time, Johnson & Johnson began targeting specific
demographics of women including obese women, African American women, Hispanic
women, and teens. Within Johnson & Johnson, this strategy was referred to as “adult
leverage.” It is notable that in these marketing meetings, “Damaging negative publicity on
talc and ovarian cancer” was discussed [JNJ000021092].

  77.    In meetings, the marketing division at Johnson & Johnson was directed to “target
         African Americans and several other key target audiences: Overweight women,
         women who exercise, women in warm climates” [JNJ 000100785].

  78.    In meetings of the marketing division at Johnson & Johnson, it was also noted that
         “African Americans have high affinity for the category and tend to be heavy users”
         and that the marketing efforts should “increase adult usage of powder through targeted
         communication” [JNJ000100785].

  79.    In notes from a 2004 meeting of the “Shower to Shower task force,” the “#1
         Challenge” was to address “Powder Category Decline” [JNJ000058760]. Among the
         marketing strategies discussed were

          a. Targeting even younger users of Shower to Shower by placing the products “in
             other spots to get younger potential users down the aisle,” which the brand hoped
             “would also reinforce how everyday powder should be”
          b. “Focus on African American women and obesity” which included strategies such
             as, “Team up with Ebony magazine to promote this idea,” “promotions in
             churches, beauty salons, and barber shops” and “focus on getting promotions at
             African American concerts and jazz festivals.”
          c. “Do a deeper dive into finding out what is important to African American women
             and the younger ones in particular.”

  80.    A 2007 marketing meeting among Johnson & Johnson employees noted that
         consumption of baby powder was declining and that “Health Reasons” were a cause of
         that decline [JNJ000109468]. In response, it was suggested that the “#1” strategy was
         to pursue African American consumers due to “High HH (household) penetration
         among AA (African American) households, and positive disposition towards the
         product. Powder is still considered a relevant product among AA consumers,” and that



                                               20
Case 3:16-md-02738-MAS-RLS           Document 33000-13          Filed 07/23/24     Page 22 of 84
                                      PageID: 195374



         with “a positive disposition towards the form and heavy usage, this could be an
         opportunity.”


  81.    In 2012, the marketing division also targeted the sale of talcum powder products to
         Hispanic women. In a marketing presentation, the question was asked, “Are Hispanic
         Women Important to our Franchise?” [JNJ000119537]. In this meeting it was noted
         that,

          a. “The need for a directed marketing effort against Hispanics is such a big
             opportunity.”
          b. “In the last decade the Hispanic birth rate has actually increased +14%. I think
             we’ve found where the fish are.”

In 2008, a second citizens petition was filed by the Cancer Prevention Coalition, requesting
the Commissioner of Food and Drugs require that all cosmetic talc products bear labels
with a warning such as, “Frequent application of talcum powder in the female genital area
substantially increases the risk of ovarian cancer.”

  82.    The 2008 CPC petition noted that:

          a. “The scientific basis of the 1994 Petition was also admitted by the industry. In an
             August 12, 1982, article in the New York Times, Johnson & Johnson, the
             manufacturer and retailer of talc dusting powder, stated it was aware of a
             publication which concluded that frequent genital application of talc was
             responsible for a three-fold increased risk of ovarian cancer.” (p. 2)
          b. “Evidence for the May 2008 Petition is supported by Edward Kavanaugh,
             President of the industry’s Cosmetic Toiletry and Fragrance Association. In 2002,
             he admitted that talc is “toxic,” that it “can reach the human ovaries,” and that
             prior epidemiological investigations concluded that its genital application
             increased the risk of ovarian cancer.”
          c. On this basis, the 2008 CPC petition urged Johnson & Johnson to substitute
             cornstarch for talcum powder products and to label its products with a warning on
             cancer risks.

  83.    The 2008 CPC petition was widely distributed within Johnson & Johnson in an email
         from Susan Nettesheim (Vice President of Product Stewardship & Health Care
         Compliance) [JNJ000426237], who noted that:

          a. “This is not a new issue. We have a team that has been addressing the concern on
             talc use and ovarian cancer for more than 10 years. As this points out, a petition
             was previously filed in 1994. That being said, this may get significant media
             attention due to the current heightened concerns on cosmetic ingredients.”
          b. “The team will be finalizing a list of external spokespeople that are experts in this
             area that can speak on our behalf if necessary.”




                                               21
Case 3:16-md-02738-MAS-RLS           Document 33000-13           Filed 07/23/24      Page 23 of 84
                                      PageID: 195375



Individuals in leadership positions within Johnson & Johnson discussed the citizens’
petitions and continued health concerns regarding talcum powder. Externally, however, the
company maintained that any of the health concerns regarding talc were unwarranted and
false and that product safety was the company’s top priority.

  84.    On April 15, 2008 [JNJ 000457161], Todd True (Global Creative Director at J&J)
         wrote in an email to Fred Koberna (Director, Global Public Insights at J&J), “The
         reality that talc is unsafe for use on/around babies is disturbing. I don't mind selling
         talc, I just don't think we can continue to call it Baby Powder and keep it in the baby
         aisle. Have we done any research to determine the potential negative impact to our
         brand or best for baby strategy by maintaining this ingredient? Have we looked at
         replacing talc with cornstarch for our base powder as other brands have? What's the
         value in maintaining talc under baby? Given a number of other ingredient issues we
         are facing, this seems like an easy fix and win.”

  85.    On April 18, 2008 Todd True wrote in an email to Michael Rosolowsky (Vice
         President of Global Strategic Insights), “I wanted to give you a heads-up that I am on a
         bit of a mission to consider removing talc from the baby aisle.” “Basically, I’m
         thinking it would be in the brand’s best interest to develop a strategy to move out of
         the baby aisle for our talc product and either create a direct Adult proposition or
         simply replace the talc ingredient with cornstarch. This would align with our Best for
         Baby charter. I understand this is a $70M business in the U.S. alone, unsupported. So
         any changes are risky. However, given a number of other ingredient issues we are
         facing, this seems like an easy fix and win.” [JNJ000457161].

  86.    On April 18, 2008, Fred Koberna replied “My understanding is that we introduced the
         cornstarch variant as an alternative to talc for use on babies. Due to the talc issue and
         some doctors recommending for moms not to use powder on their babies, we don't
         promote powder to moms. Many women prefer the feel of talc to cornstarch, both in
         its application and for the skin feel. They know us as a baby powder and look for us in
         the baby aisle.” [JNJ000457161].

  87.    On November 03, 2008, Craig Bernard (Regulatory Affairs & Product Stewardship at
         Rio Tinto) wrote in an email, “Kathy Wille at J&J informed me that at a recent science
         meeting in Washington DC she had a side conversation with a key figure from the
         FDA cosmetic group that is responsible for responding to the Citizen's Petition. He
         indicated that the FDA would rule against the petition and would not require warning
         labels on cosmetic products. But the FDA is looking for scientific support from
         industry that will help justify their position. She suggested that there is a collective
         group working to have comments submitted to the FDA.” [IMERYS250983].

  88.    On July 08, 2011, Timothy McCarthy (Research Directory, Toxicologist at J&J) wrote
         in an email, “Focus on the label restriction: not to be applied to perineal area. All other
         applications are safe. Actually, all applications are safe, but we are acknowledging the
         stupid-a$$ IARC decision.” “Talc-based body powders not to be used in perineal
         area.” [JNJ000383964]. Such a warning was never released.



                                                22
Case 3:16-md-02738-MAS-RLS           Document 33000-13           Filed 07/23/24      Page 24 of 84
                                      PageID: 195376




  89.    The profound disconnect between the company’s external messaging regarding the
         safety of talcum powder products and the company’s internal conversations and
         actions is evident in the 2017 deposition of the company’s Chief Medical Officer,
         Joanne Waldstreicher. In 2016, Waldstreicher, acting on behalf of the company as its
         chief medical spokesperson, attested to the unequivocal safety of talc. In 2016,
         Waldstreicher stated, “As the chief medical officer of Johnson & Johnson, I want to
         reassure anyone who may have questions or concerns related to talc that product safety
         is and will continue to be our highest priority." (p.317); and “based on the available
         data and a thorough review of our internal safety database” “there's no causal
         association between talc and ovarian cancer,” (p. 309). Publicly the company also
         claimed that “asbestos, has never been found in the baby powder, and never will” (p.
         198). However, as was revealed in Waldstreicher’s deposition, those statements
         misrepresented when the company was first made aware of potential health concerns
         regarding talc (p. 71); they misrepresented that the company intervened to limit reports
         of asbestos in talc (p. 253; p. 261). Moreover, Waldstreicher herself had never
         personally reviewed the totality of the scientific literature on the association of talcum
         powder use and ovarian cancer, and corporate documents revealed that evidence of
         impurities in talc posed a significant “business threat” to the company and talc
         suppliers (p. 269).

  90.    In 2018, the Johnson & Johnson released a full-page newspaper advertisement. The
         advertisement contained the header “Your Questions Deserve Answers.” [JNJ
         Newspaper Advertisement December 2018]. This advertisement stated that,

          a. “We did not hide anything. Ever.”
          b. “We have always acted with the utmost transparency in this matter.”
          c. “Nothing is more important to us than the health and safety of our customers.”
          d. “If we had any reason to believe our talc was unsafe, it would be off our shelves
             immediately.”
          e. “There is irrefutable scientific evidence that our talc is safe and beneficial to use.”

  91.    In 2020, Johnson & Johnson announced the discontinuation of Talc-based Johnson’s
         Baby Powder in U.S. and Canada [J&J Media Statement May 19, 2020]. The stated
         reason for discontinuing the product was declining demand “due in large part to
         changes in consumer habits and fueled by misinformation around the safety of the
         product and a constant barrage of litigation advertising.” The company also noted that
         “we will continue to vigorously defend the product, its safety, and the unfounded
         allegations against it and the Company in the courtroom.” And that, “Cornstarch-based
         Johnson’s Baby Powder will remain available in North America. Both types of
         Johnson’s Baby Powder – talc-based and cornstarch-based – will continue to be sold in
         other markets around the world where there is significantly higher consumer demand
         for the product.”

In 2021 Health Canada released their final report in which they concluded that “talc meets
the criteria under paragraph 64(c) of CEPA as it is entering or may enter the environment



                                                23
Case 3:16-md-02738-MAS-RLS               Document 33000-13          Filed 07/23/24     Page 25 of 84
                                          PageID: 195377



in a quantity or concentration or under conditions that constitute or may constitute a
danger in Canada to human life or health.”

     92.     The 2021 Health Canada report noted that,

              a. “Talc has been reviewed internationally by other organizations, including the
                 International Agency for Research on Cancer (IARC) and the Danish
                 Environmental Protection Agency. These assessments informed the human health
                 risk assessment.” (p.iii; Health Canada Final Screening Assessment).
              b. “With regards to perineal exposure, analyses of the available human studies in the
                 peer-reviewed literature indicate a consistent and statistically significant positive
                 association between perineal exposure to talc and ovarian cancer. The available
                 data are indicative of a causal effect. Given that there is potential for perineal
                 exposure to talc from the use of certain self-care products (e.g., body powder,
                 baby powder, diaper and rash creams, genital antiperspirants and deodorants,
                 body wipes, bath bombs, bubble bath), a potential concern for human health has
                 been identified.” (p.iii; Health Canada Final Screening Assessment).

In 2022, Johnson & Johnson announced the decision to “transition to an all cornstarch-
based baby powder portfolio,” and that JBP would be discontinued globally in 2023 [J&J
Media Statement, August 11, 2022].

     93.     The stated reason for the transition to cornstarch powders was that the “transition will
             help simplify our product offerings, deliver sustainable innovation, and meet the needs
             of our consumers, customers and evolving global trends.” It also noted that
             “Cornstarch-based JOHNSON’S is a flagship global brand of Johnson & Johnson
             Consumer Health and we remain fully committed to ensuring JOHNSON’S® products
             are loved by parents and families for years to come.”

     94.     To this day, Johnson & Johnson maintains that “Talc is accepted as safe for use in
             cosmetic and personal care products by the European Union, Canada and many other
             countries around the world” [company’s website, “Facts about Talc Safety”]. This
             statement is in direct contradiction to the Health Canada report released in 2021.

     95.     To this day, the company maintains that asbestos in talc is nothing more “an urban
             legend.” [company’s website, “Facts about Talc”]. The company highlights four
             studies which do not find an elevated risk of cancer among cosmetic talcum powder
             users. However, it does not discuss the dozens of peer-reviewed studies and meta-
             analyses which do find evidence of a statistically significant relationship between
             talcum powder use and cancer. Such biased sampling of the peer-reviewed literature is
             in direct contradiction to universally accepted scientific practices as well as company’s
             invitation for consumers to “review the evidence and make up your mind.”

E.         Conclusion




                                                   24
Case 3:16-md-02738-MAS-RLS         Document 33000-13         Filed 07/23/24      Page 26 of 84
                                    PageID: 195378



  96.   In my review of the relevant marketing and related materials, I observe that Johnson &
        Johnson built a profitable global brand by promising to make customers’ health and
        safety the company’s top priority. Through carefully crafted advertising and
        messaging, the company cultivated a “deep, emotional trust” with customers. It
        aligned itself with highly trusted figures, including doctors and mothers, and
        capitalized on the emotional bond between mother and child. And these marketing
        efforts were successful. The overwhelming majority of the talcum powder sold in the
        U.S. and globally was manufactured by Johnson & Johnson precisely because the
        company was seen as “innocent” and a “caregiver.”

  97.   Internal documents as well as the company’s actions indicate that the health hazards
        associated with talc were not regarded as mere “urban legend.” In 1974 the company
        acknowledged the “need for a non-talc dusting powder as a direct result of the
        talc/asbestos controversy.” In 1977, the company anticipated “possible government
        legislation banning the cosmetic use of talcum powder.” And, in 1986, the company
        anticipated that “it is inevitable that a ‘last straw’ safety concern will lead to the
        abandonment of powder use, unless health benefits outweigh the risks.” The company
        went so far as to develop a cornstarch alternative, obtain a patent, conduct market
        research, and devise a marketing strategy which would communicate the benefits of a
        replacement cornstarch product to consumers (e.g., “a change for the better”).

  98.   Based on my consideration of the totality of the evidence and my education, training,
        and expertise, it is my opinion to a reasonable degree of professional certainty that
        Johnson & Johnson engaged in misleading and deceptive conduct that created
        confusion and misunderstanding among consumers. To this day, the company
        continues to deny any potential health hazards associated with Johnson’s talcum
        powder products. It fails to communicate the totality of the scientific evidence on the
        potential links between talcum powder use and ovarian cancer. And, rather than acting
        with the “upmost transparency” as the company stated in 2018, there is a profound
        disconnect between what the company externally communicates regarding JBP and
        what the company’s internal communications reveal. None of the current “Facts about
        Talc” on the company’s website communicate that the company developed a
        cornstarch alternative 50 years ago in the advent of crisis or government regulation
        banning the use of cosmetic talc. Nowhere does it mention the conclusions from
        internationally recognized health bodies such as Health Canada, which find evidence
        of a causal link between talcum powder and ovarian cancer. In recent messaging the
        company has downplayed the importance of talc to their overall business (e.g.,
        “powder represents approximately 0.5% of the (company’s) total U.S. Consumer
        Health business”). This, however, stands in stark contrast to the fact that the “deep,
        emotional trust” that the company cultivated specifically through its marketing of JBP
        was regarded as the company’s “Golden Egg,” “one of its most precious assets,” and
        “the cornerstone of baby franchise.”

  99.   The marketing issues in this case are of central importance to understanding how the
        company affected and continues to affect consumers’ beliefs about JBP and the health
        concerns regarding talc. The company’s marketing strategy for JBP was not simply to



                                             25
Case 3:16-md-02738-MAS-RLS         Document 33000-13         Filed 07/23/24     Page 27 of 84
                                    PageID: 195379



        make consumers aware of the product and communicate the product’s benefits. Rather,
        Johnson & Johnson acted to target consumers’ emotions and their core appreciations of
        trust, rooted in the sacred bond between mother and child. As the company’s
        documents indicate, what consumers believed about Johnson’s Baby Powder was
        central to what they believed about the Johnson’s Baby brand; and what they believed
        about the Johnson’s Baby brand was central to what they believed about Johnson &
        Johnson. At the core of all that was not a belief about Johnson Baby Powder’s
        smoothness, or absorbency, or fragrance; rather, it was trust. Trust in the product and
        more importantly, trust in the company. And the effects of that trust in this case are
        immense. When consumers may have encountered concerns about the safety of JBP
        and talc, those concerns were not evaluated tabula rasa—devoid of any pre-existing
        expectations. Rather, those concerns were evaluated against generations of advertising
        which strategically portrayed the company as trustworthy, innocent, and first and
        foremost, concerned about customers’ safety and wellbeing. As a result, the company’s
        unequivocal denials of any wrongdoing or potential harm from talc had, and continue
        to have, an outsized impact on consumers’ beliefs and behaviors. When the company
        states “We did not hide anything. Ever” or, “There is irrefutable scientific evidence
        that our talc is safe and beneficial to use” those words carry with them the emotional
        gravity of a century of strategic and carefully-crafted messaging built upon (in the
        company’s words) “meanings, associations, values and feelings.”




                                             26
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 28 of 84
                              PageID: 195380




                             APPENDIX 1
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 29 of 84




                                                                                  A1-A
                              PageID: 195381
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 30 of 84
                              PageID: 195382
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 31 of 84
                              PageID: 195383
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 32 of 84
                              PageID: 195384
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 33 of 84
                              PageID: 195385
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 34 of 84
                              PageID: 195386




                             APPENDIX 2
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 35 of 84
                              PageID: 195387




                                                                                  A2-A
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 36 of 84
                              PageID: 195388




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 37 of 84
                              PageID: 195389




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 38 of 84
                              PageID: 195390




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 39 of 84
                              PageID: 195391




                                                                                  A2-E
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 40 of 84
                              PageID: 195392




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 41 of 84
                              PageID: 195393




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 42 of 84
                              PageID: 195394




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 43 of 84
                              PageID: 195395




                                                                                  A2-I
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 44 of 84
                              PageID: 195396




                                                                                  A2-J
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 45 of 84
                              PageID: 195397




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 46 of 84
                              PageID: 195398




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 47 of 84
                              PageID: 195399




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 48 of 84
                              PageID: 195400




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 49 of 84
                              PageID: 195401




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 50 of 84
                              PageID: 195402




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 51 of 84
                              PageID: 195403




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 52 of 84
                              PageID: 195404




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 53 of 84
                              PageID: 195405




                                                                                  A2-S
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 54 of 84
                              PageID: 195406
Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 55 of 84
                              PageID: 195407




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 56 of 84
                              PageID: 195408




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 57 of 84
                              PageID: 195409




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 58 of 84
                              PageID: 195410




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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 59 of 84
                              PageID: 195411




                             EXHIBIT A
Case 3:16-md-02738-MAS-RLS          Document 33000-13                 Filed 07/23/24   Page 60 of 84
                                     PageID: 195412
NOVEMBER, 2023


                             GEORGE E. NEWMAN
                                   —C U R R I C U L U M V I T A E —



ACADEMIC APPOINTMENTS

2022-         Associate Professor of Organizational Behaviour & Human Resource
              Management & Marketing, Rotman School of Management, University of Toronto

2016- 2022    Associate Professor of Management & Marketing, Yale School of Management

2011- 2016    Assistant Professor of Management, Yale School of Management

2011- 2022    Affiliated Faculty, Department of Psychology, Yale University
              Affiliated Faculty, Department of Cognitive Science, Yale University
              Affiliated Faculty, Yale Center for Customer Insights

2008 - 2011   Postdoctoral Associate in Marketing, Yale School of Management


EDUCATION

Ph.D. in Cognitive Psychology, Yale University, 2008
M.Phil. in Psychology, Yale University, 2006
M.S. in Psychology, Yale University, 2005
B.A. in Psychology, Northwestern University, 2002



HONORS & AWARDS
Academy of Management, Annals, Best Paper, 2020
Society for Philosophy and Psychology, Best Paper, 2019
Richard Lanpher Dissertation Fellowship, Yale University, 2007-2008
National Science Foundation Graduate Fellowship Honorable Mention, 2004
Graduate Research Fellowship, Yale University 2003-2008
William H. Hunt Award for the Best Undergraduate Thesis in Psychology, Northwestern
       University, 2002
Northwestern University Undergraduate Research Grant, 2001-2002



RESEARCH INTERESTS

Consumer Behavior, Brand Authenticity, Consumer Perceptions of Trust, Brand Heritage,
     Corporate Social Responsibility, Sustainability, Charitable Giving
Case 3:16-md-02738-MAS-RLS           Document 33000-13          Filed 07/23/24     Page 61 of 84
                                      PageID: 195413
NOVEMBER, 2023


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NOVEMBER, 2023

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NOVEMBER, 2023


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       Investigators: George Newman and Tamar Makov

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      Project, John Templeton Foundation. Investigators: Yarrow Dunham, Joshua Knobe,
      George Newman, Shaun Nichols, Nina Strohminger, Fan Yang

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      George Newman.

“Framing Effects on Inferences about Green Product Quality.” Funded by Yale Research
      Grants in Business and the Environment and Jon Cummings and Holly Hegener.
      Principal Investigators: George Newman and Ravi Dhar.
Case 3:16-md-02738-MAS-RLS          Document 33000-13        Filed 07/23/24     Page 67 of 84
                                     PageID: 195419
NOVEMBER, 2023



SELECTED MEDIA MENTIONS
New York Times, Time Magazine, Slate, Scientific American, Wall Street Journal, The
Economist, Smithsonian Magazine, LA Times, Boston Globe, Chronicle of Higher Education,
Forbes, Huffington Post, Harvard Business Review

INVITED TALKS

Newman, G.E. (2021, October) Resistance to COVID-19 Vaccines: A Case Study of the Binding
     Functions of Morality. Presented at Virginia Tech Marketing Seminar

Newman, G.E. (2021, October) Resistance to COVID-19 Vaccines: A Case Study of the Binding
     Functions of Morality. Presented at Rotman OBHRM Seminar (virtual)

Newman, G.E. (2021, September) Resistance to COVID-19 Vaccines: A Case Study of the
     Binding Functions of Morality. Presented at Kellogg Marketing Camp

Newman, G. E. (2021, April) Unsustainable: How incompatible beliefs lead to environmental
     inaction. Presented at Cornell University Marketing Seminar (virtual).

Newman, G. E. (2021, February) Unsustainable: How incompatible beliefs lead to
     environmental inaction. Presented at Georgetown University Marketing Seminar (virtual).

Newman, G. E. (2020, November). Unsustainable: How incompatible beliefs lead to
     environmental inaction. Presented at University of Toronto Marketing Seminar (virtual).

Newman, G. E. (2020, November). Unsustainable: How incompatible beliefs lead to
     environmental inaction. Presented at UC Berkeley Behavioral Science Seminar (virtual).

Newman, G. E. (2020, June). Customer Insights to Building an Authentic Brand. Presented at
     Marketing Science Institute (virtual).

Newman G. E. (2019, February). Authenticity and the Value of Objects. Presented at Baruch
     College Marketing Seminar.

Newman G. E. (2018, November). Authenticity and the Value of Objects. Presented at New
     York University, Marketing Seminar.

Newman G. E. (2018, November). Authenticity and the Value of Objects. Presented at New
     York University Abu Dhabi, Psychology Department Seminar.

Newman, G. E. (2017, March). Authenticity and the Value of Objects. Paper presented at
     CUHK, Marketing Seminar.
Newman, G. E. (2016, August). Authentic Altruism. Paper presented at the UCSD, Marketing
     Seminar.

Newman, G. E. (2016, March). Tainted Altruism. Paper presented at Harvard University,
     Negotiations, Organizations and Markets Seminar.
Case 3:16-md-02738-MAS-RLS           Document 33000-13        Filed 07/23/24      Page 68 of 84
                                      PageID: 195420
NOVEMBER, 2023

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     Emory University, Organizations & Management Seminar.

Newman, G. E., (2014, November). Tainted Altruism: When doing some good is evaluated
     worse than doing no good at all. Paper presented at Leeds University, Department of
     Philosophy Seminar.

Newman, G. E. (2014, April). Authentic Altruism. University of Chicago, Center for Decision
     Research Seminar.

Newman, G. E. (2013, November). Psychology of Authenticity, University of British Columbia,
     Marketing Seminar.

Newman, G. E. (2013, October). The Psychology of Authenticity. University of Connecticut
     Department of Psychology Seminar.

Newman, G. E. (2012, April). The Valuation of Authentic Goods. Sloan School of Management,
     MIT, Marketing Seminar.

Newman, G. E. (2012, April). Authentic Altruism and the Myth of Win-Win. Yale University.,
     Department of Psychology Developmental Psychology Seminar.

Newman, G.E, (2010, November). The Valuation of Authentic Goods. London Business School,
     Marketing Seminar.

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     Business, University of Colorado, Boulder, Marketing Seminar.

Newman, G.E, (2010, October). The Valuation of Authentic Goods. Tepper School of Business,
     CMU, Marketing Seminar.



Conference Presentations

Newman G. E. (2019, January). Significant Objects. Presented at the Winter Decision Making
     Conference.

Newman G. E. and Minju Han. (2018, October). System Justification and Atavistic Products.
     Presented at the Association for Consumer Research.

Newman, G. E. (2018, May). Intangible Value. Paper presented at four schools conference.


Newman, G. E. (2016, May). Kinds of Authenticity. Paper presented at the Triennial Choice
     Symposium, Lake Louise, Canada.

Newman, G. E. (2016, May). Kinds of Authenticity. Paper presented at the Authenticity
     Workshop at UVA.
Case 3:16-md-02738-MAS-RLS           Document 33000-13        Filed 07/23/24     Page 69 of 84
                                      PageID: 195421
NOVEMBER, 2023

Newman, G. E. (2016, February). Intentions Versus Outcomes in Charitable Fundraising. Paper
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Newman, G. E. (2016, January). The True Self. Paper presented at the New England Marketing
     Conference.

Newman, G. E. (2015, September). The Valuation of Authentic Goods. Paper presented at the
     New England Marketing Conference.

Newman, G. E. (2015, May). The Valuation of Authentic Goods. Paper presented at the
     Authenticity Workshop at Stanford University, Palo Alto, CA.

Newman, G. E. (2015, May). Why do we value authenticity? Paper presented at the Annual
     Yale Center for Customer Insights Conference, New Haven, CT.

Newman, G. E. (2015, May). The True Self. Paper presented at the Personal Identity Workshop,
     University of Chicago, Chicago, IL.

Newman, G. E. (2014, November). When do incentives help charitable giving and when do they
     hurt? Paper presented at the Annual Meeting of the Social Philanthropy Initiative,
     Chicago, IL.

Newman, G. E., Bartels, D. M., Smith, Rosanna, K. (October, 2014). “Are artworks more like
     people than artifacts?” Paper presented at the Annual Meeting of the Association for
     Consumer Research, Baltimore, MD.

De Freitas, J., Tobia, K., Newman, G. E., & Knobe, J. (July, 2014). The good ship Theseus: The
       effect of valence on object identity judgments. Poster presented at the Annual Meeting of
       the Cognitive Science Society, Quebec City, Canada.

Newman, G. E., & Cain. D. (2014, July). Tainted Altruism: When doing some good is evaluated
     worse than doing no good at all. Paper presented at the Behavioral Decision Research
     in Management Conference, London, England.

Newman, G. E. (2014, July). The Intuitive Link Between Order and Agency. Paper presented at
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     Conferences, Amsterdam, Netherlands.

Newman, G. E., Brescoll, V. & Knobe, J. (2014, July). From Biology to Ideology: A Model For
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Newman, G. E., De Freitas, J., & Knobe, J. (2014, June). Beliefs about the true self explain
     asymmetries based on moral judgment. Poster presented at the Society for Philosophy
     and Psychology, Vancouver, Canada.

Newman, G. E. (2014, June). The Moral Nature of the True Self. Paper presented at the
     International Society for Justice Research Conference, New York, NY.

Newman, G. E. (2014, March). Everyday Intuitions about the Value of Artwork. Art, Mind and
     Markets Conference, Yale University.
Case 3:16-md-02738-MAS-RLS           Document 33000-13        Filed 07/23/24     Page 70 of 84
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NOVEMBER, 2023


Newman, G. E., & Cain. D. (2013, November). Tainted Altruism: When doing some good is
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Poehlman, T. A., & Newman, G. E. (2013, October). Potential: The Valuation of Imagined
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      American Conference, Chicago, IL.

Newman, G. E. (2013, April). An Essentialist Account of Authenticity. Paper presented at the
     Society for Research in Child Development Conference, Seattle, WA.

Newman, G. E. (2012, June). The Moral Nature of the True Self. Paper presented at the Society
     for Philosophy and Psychology Conference, St. Louis, MO.

Newman, G. E. (2012, April). The Valuation of Authentic Goods. Marketing Seminar Series,
     Isenberg School of Management, University of Massachusetts.

Newman, G. E. & Shen, Y. J. (2011, October). When do incentives help and when do they hurt?
     Paper presented at the Association for Consumer Research North American
     Conference, St. Louis, MO.

Newman, G.E, (2010, December). When do our moral intuitions lead us astray? Invited talk at
     the School of Management, Yale University.

Newman, G. E. & Shen, Y. J. (2010, October). The Counterintuitive Effects of Thank-you Gifts
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     American Conference, Jacksonville, FL.

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Newman, G. E. & Dhar, R. (2010, February). It’s The Thought That Counts: Causality and
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Case 3:16-md-02738-MAS-RLS           Document 33000-13        Filed 07/23/24     Page 71 of 84
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Melamed, K., Hamlin, J. K., Newman, G. E., & Wynn, K. (2007, March). Eight-month-old infants
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Newman, G. E. (2006, February). Darwin versus design: What challenges to evolution tell us
     about the mind. Cognitive Lunch Series, Yale University.

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Newman, G. E., Keil, F. C., Kuhlmeier, V., & Wynn, K. (2005, April). 12 Month-olds Know That
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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 72 of 84
                              PageID: 195424




                             EXHIBIT B
Case 3:16-md-02738-MAS-RLS                    Document 33000-13              Filed 07/23/24      Page 73 of 84
                                               PageID: 195425



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    Huncharek, et al., Use of Cosmetic Talc on Contraceptive Diaphragms and Risk of Ovarian
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                                      PageID: 195427



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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 77 of 84
                              PageID: 195429



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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 78 of 84
                              PageID: 195430



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 JNJ000075260
 JNJ000085127
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 JNJ000085448
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 JNJ000092918
 JNJ000093167
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 JNJ000093512
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 JNJ000095572
 JNJ000097777
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 JNJ000100272
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                              PageID: 195432



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 JNJ000255596
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                              PageID: 195433



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 JNJ000381090
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 JNJ000404860
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 JNJ000405610
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Case 3:16-md-02738-MAS-RLS   Document 33000-13   Filed 07/23/24   Page 82 of 84
                              PageID: 195434



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 JNJ000561528
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Case 3:16-md-02738-MAS-RLS          Document 33000-13         Filed 07/23/24     Page 83 of 84
                                     PageID: 195435



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